Case 2:24-cv-07791-BRM-CLW             Document 103        Filed 01/28/25        Page 1 of 1 PageID:
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                                                                           CHARLES H. CHEVALIER
                                                                           Director

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                                                      January 28, 2025

 VIA ECF

 Honorable Cathy L. Waldor, U.S.M.J.
 United States District Court
 District of New Jersey
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07102

        Re:      In re Selenious Acid Litigation,
                 No. 2:24-cv-07791-BRM-CLW (Consolidated)

 Dear Judge Waldor:

         We, along with Sterne, Kessler, Goldstein & Fox P.L.L.C., represent Plaintiff American
 Regent, Inc. (“ARI”) in the above-referenced matter. With counsel for all Defendants in the
 above-referenced consolidated matter, we submit the attached Discovery Confidentiality Order
 for the Court’s consideration. If Your Honor finds this document acceptable, the parties
 respectfully request that Your Honor “So-Order” the document and direct its entry on the docket.

        The parties thank the Court for its consideration and assistance in this matter. If the Court
 would like to discuss this matter further, the parties will make themselves available at the Court’s
 convenience.



                                                      Respectfully submitted,

                                                      s/ Charles H. Chevalier
                                                      Charles H. Chevalier

 Attachment
 cc: Counsel of record via ECF and e-mail
